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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                        *
                                                *
        v.                                      *           CRIMINAL NO. LKG-22-007
                                                *
MARILYN MOSBY,                                  *
                                                *
               Defendant.                       *
                                             *******

      GOVERNMENT’S MOTION FOR LEAVE TO FILE A MOTION IN LIMINE

       The United States of America seeks leave to a file a motion in limine to exclude opinions

contained for the first time in the Defendant’s supplemental disclosures of September 9, 2022, or

to continue the trial and for adequate disclosure. The motion in limine is contained at Exhibit 1.

The motion is in response to the supplemental disclosures that the Defendant was ordered to make

on September 7, 2022, and which the Defendant did make on September 9, 2022 at 11:17 pm.

       Good cause exists to file the motion because the facts giving rise to the motion are recent,

namely, the supplemental disclosures contain expert opinions that were never before disclosed to

the Government prior to September 9, 2022, despite the fact that the Court ordered the Defendant

to provide expert disclosures to the Government by July 1, 2022, and these disclosures contain

inadmissible opinions that should be excluded and are otherwise deficient.

       A proposed order is attached.

                                             Respectfully submitted,

                                             Erek L. Barron
                                             United States Attorney

                                       By:   _______/s/_____________________
                                             Leo J. Wise
                                             Sean R. Delaney
                                             Aaron S.J. Zelinsky
                                             Assistant United States Attorneys
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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this day, a copy of the foregoing motion was electronically

filed via CM/ECF which provides notice to counsel of record.


                                           ___________/s/_______________
                                           Leo J. Wise
                                           Assistant United States Attorney




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